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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA

RENEE BARNAUSKAS,

       Plaintiff,

v.

MERCHANTS & MEDICAL CREDIT
CORPORATION, INC.,

       Defendants.


                                    NOTICE OF REMOVAL
       Defendant, Merchants & Medical Credit Corporation, Inc. (“MMCC”), hereby gives

notice of removal of this action from the Lackawanna County Court of Common Pleas located in

Scranton, Pennsylvania to the United States District Court for the Middle District of

Pennsylvania pursuant to 28 U.S.C. §§ 1331, 1441 and 1446. In support thereof, MMCC states:

       1.      On or about March 1, 2018, Plaintiff Renee Barnauskas (“Plaintiff”) filed the

above captioned civil action in the Lackawanna County Court of Common Pleas, Pennsylvania.

       2.      MMCC was served with the Complaint on March 6, 2018. Accordingly, this

Notice of Removal has been timely filed pursuant to 28 U.S.C. § 1446(b).

       3.       This matter is a civil action over which this Court has original jurisdiction under

28 U.S.C. § 1331, and is one which may be properly removed pursuant to 28 U.S.C. §§ 1441 and

1446, as the claims asserted in the Complaint arise under the laws of the United States and raise

one or more federal questions.

       4.      Plaintiff’s complaint purports to assert violations of the Fair Debt Collection

Practices Act (“FDCPA”), 15. U.S.C. § 1692 et seq.

       5.      The district courts of the United States have original jurisdiction in civil actions




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arising under the FDCPA.

       7.      MMCC removes this action to the United States District Court for the Middle

District of Pennsylvania because it is the venue that encompasses Lackawanna County,

Pennsylvania. MMCC removes this action without prejudice to MMCC’s right to seek transfer of

this action pursuant to 28 U.S.C. § 1404, if and as appropriate.

        8.      True and correct copies of the following are attached to this Notice of Removal:

                       (a) all process, pleadings and orders which have been served upon MMCC
                           in this action are attached hereto as Exhibit A in accordance with 28
                           U.S.C. § 1446(a) and this Court’s ECF guidelines; and

                       (b) the Notice of Filing of Notice of Removal which has been served upon
                           Plaintiff and filed with the Clerk of Court for the Lackawanna County
                           Court of Common Pleas is attached hereto as Exhibit B in accordance
                           with 28 U.S.C. § 1446(d).

       9.       Based upon the foregoing, this action is properly removed on the basis of federal

question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.

       WHEREFORE, Defendant Merchants & Medical Credit Corporation, Inc. requests that

this action proceed in the United States District Court for the Middle District of Pennsylvania.

                                                     Respectfully Submitted,

                                                     /s/Charity A. Olson
                                                     Charity A. Olson (P68295)
                                                     BROCK & SCOTT, PLLC
                                                     2723 S. State St. Ste. 150
                                                     Ann Arbor, MI 48104
                                                     (734) 222-5179
Dated: March 23, 2018                                Charity.Olson@brockandscott.com




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                                CERTIFICATE OF SERVICE

         I, Charity A. Olson, hereby certify that on March 23, 2018, a copy of the foregoing
 Notice of Removal was filed via the Court’s ECF system and served upon the following parties
 as follows:

via FedEx Standard Overnight:

Lackawanna County Courthouse
Civil Clerk
200 N. Washington Ave.
Scranton, PA 18503

via U.S. First Class Mail:

Carlo Sabatini
Sabatini Freeman, LLC
216 N. Blakely St.
Dunmore, PA 18512

                                    /s/Charity A. Olson
                                 Charity A. Olson (P68295)
                                 BROCK & SCOTT, PLLC




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